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11
     Co-lead counsel for Plaintiffs in MDL No. 2741
12
                                   UNITED STATES DISTRICT COURT
13
                                  NORTHERN DISTRICT OF CALIFORNIA
14
      IN RE: ROUNDUP PRODUCTS                               MDL No. 2741
15    LIABILITY LITIGATION,
                                                            Case No.: 3:16-md-02741-VC
16
      This document relates to:                             JOINT SUBMISSION REGARDING
17                                                          STATUS OF MONSANTO’S MOTIONS
      WAVE 7 CASES                                          TO EXCLUDE PLAINTIFFS’ WAVE 7
18                                                          EXPERTS AND PROPOSED BRIEFING
                                                            SCHEDULE
19

20
            Pursuant to this Court’s Order re Omnibus Daubert Motion dated September 11, 2014, the
21
     parties have conferred to determine which of Monsanto’s motions to exclude Plaintiffs’ Wave 7
22
     experts remain “live” and which are “withdrawn (understanding that any arguments contained in
23
     those motions remain preserved).” (Dkt. No. 19225.) The parties identify the following pending
24
     motions and their status:
25

26

27

28
                                                      -1-
       JOINT SUBMISSION REGARDING STATUS OF MONSANTO’S MOTIONS TO EXCLUDE AND PROPOSED
                                      BRIEFING SCHEDULE
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 1   No. Docket Plaintiffs’ Expert       Case Nos.       Case Names           Status of Motion to
          Nos.                                                                      Exclude
 2    1 18964 Allen, Irving             19-cv-05345   Eilmes, Kenneth        Withdrawn –
 3                                      19-cv-05957   Haase, Caryl Ann       Plaintiffs withdrew
                                        19-cv-05600   Hayden, Neal           this expert on August
 4                                      19-cv-06407   Huntley, Carol         30, 2024. (Dkt. No.
                                                                             19103.)
 5    2     18995   Aronson, Kristan    20-cv-03433   Aldoupolis, George     See Parties’
            18987                       20-cv-08167   Drons, Robert          positions below.
 6                                      19-cv-05345   Eilmes, Kenneth
 7                                      20-cv-08847   Fox, Susan
                                        19-cv-08064   Gannon, Jason
 8                                      19-cv-06423   Gordon, Garfield
                                        19-cv-05957   Haase, Caryl Ann
 9                                      19-cv-05600   Hayden, Neal
                                        19-cv-06407   Huntley, Carol
10
                                        20-cv-07219   McDermott, Michael
11                                      20-cv-08801   Penalver, Jorge
                                        21-cv-00041   Pinheiro, Eduino
12                                      20-cv-08173   Pinheiro, Paula
                                        20-cv-05870   Rubin, Joel
13                                      20-cv-08053   Skonicki, Barbara
                                        22-cv-00092   Sullivan, Patrick
14
                                        20-cv-05871   Tudal, Steven
15    3     19062   Ashraf, Khaleel     21-cv-07124   Abel, Sandra           Live
                                        22-cv-00358   Ginkel, Peter
16                                      21-cv-03297   Rodgers, Roy
      4     18950   Benbrook, Charles   21-cv-05971   Fleischhauer, Dieter   Preserve – For re-
17                                      19-cv-08064   Gannon, Jason          filing and decision by
18                                      21-cv-05398   Hayes, Robin           trial judge, pursuant
                                                                             to PTO 202 (Dkt. No.
19                                                                           9143).
      5     18994   Bobst, Sol          21-cv-07124   Abel, Sandra           Live
20                                      20-cv-04654   Booth, David
                                        20-cv-03720   Coressel, Denise
21                                      17-cv-05084   Cryan, Catherine
22                                      21-cv-02705   Dominique, Floyd
                                        20-cv-02650   Doran, Jr., Richard
23                                      19-cv-03014   Holliday, Michael L.
                                        21-cv-02550   Perillo, Antonio
24                                      21-cv-05621   Perry, Catherine A.
                                        19-cv-03786   Putzrath, Mario
25
                                        19-cv-05598   Rhuland, Jason
26                                      21-cv-03297   Rodgers, Roy
                                        19-cv-05310   Rowland, Dean
27                                      17-cv-03448   Setzer, William
                                        21-cv-02908   Stackhouse, Mark
28                                      20-cv-04758   Williams, Charles
                                                -2-
     JOINT SUBMISSION REGARDING STATUS OF MONSANTO’S MOTIONS TO EXCLUDE AND PROPOSED
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          Case 3:16-md-02741-VC Document 19272 Filed 09/19/24 Page 3 of 10



 1   No. Docket Plaintiffs’ Expert        Case Nos.        Case Names          Status of Motion to
          Nos.                                                                      Exclude
 2    6 18984 Boyd, Barry                20-cv-04758   Adams, III, Jesse R.   Preserve – Monsanto
 3                                                                            preserves its motion
                                                                              arguments.
 4    7     18962   Conry, Robert        21-cv-00675   Boatright, Allen       Preserve – Monsanto
                                         20-cv-01419   Collins, James         preserves its motion
 5                                       20-cv-04834   Colton, Andrew         arguments.
                                         20-cv-08167   Drons, Robert
 6                                       20-cv-08847   Fox, Susan
 7                                       21-cv-04928   Fritscher, Bryan
                                         19-cv-04606   Hoge, Merril
 8                                       19-cv-03539   McCaskill, Matthew
                                         20-cv-07219   McDermott, Michael
 9                                       20-cv-08801   Penalver, Jorge
                                         20-cv-05870   Rubin, Joel
10
                                         22-cv-00092   Sullivan, Patrick
11                                       20-cv-05871   Tudal, Steven
      8     19047   Dorjee, Kunchok      21-cv-02550   Perillo, Antonio       Live
12    9     18969   Freidenfelds, Lara   20-cv-00621   Belfleur, Jean         Live – To the extent
                                         18-cv-01428   Berenfeld, Sharon      the Court determines
13                                       22-cv-00358   Ginkel, Peter          this motion is subject
14                                       20-cv-00024   Glassman, Phillip      to PTO 202 (Dkt. No.
                                         20-cv-03363   Holmes, Christopher    9143), Monsanto
15                                       20-cv-02404   Iona, Deborah          preserves its motion
                                         21-cv-00175   Kay, Linda             arguments for re-
16                                       21-cv-00172   Proctor, Mark          filing and decision by
                                         20-cv-08851   Thompson, Matthew      the trial judge.
17   10     18955   Gandhi, Chintan      20-cv-00248   Fallon, Thomas I.      Live
18   11     18956   Goldberg, Jack       20-cv-08053   Skonicki, Barbara      Live
     12     19051   Hamburg, Solomon     20-cv-00621   Belfleur, Jean         Live
19                                       18-cv-01428   Berenfeld, Sharon
                                         20-cv-00024   Glassman, Phillip
20                                       20-cv-03363   Holmes, Christopher
                                         20-cv-02404   Iona, Deborah
21
                                         21-cv-00172   Proctor, Mark
22                                       20-cv-08851   Thompson, Matthew
     13     18954   Haugh, Todd          20-cv-00621   Belfleur, Jean         Live – To the extent
23                                       18-cv-01428   Berenfeld, Sharon      the Court determines
                                         22-cv-00358   Ginkel, Peter          this motion is subject
24                                       20-cv-00024   Glassman, Phillip      to PTO 202 (Dkt. No.
25                                       20-cv-03363   Holmes, Christopher    9143), Monsanto
                                         20-cv-02404   Iona, Deborah          preserves its motion
26                                       21-cv-00175   Kay, Linda             arguments for re-
                                         21-cv-00172   Proctor, Mark          filing and decision by
27                                       20-cv-08851   Thompson, Matthew      the trial judge.
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                                                -3-
     JOINT SUBMISSION REGARDING STATUS OF MONSANTO’S MOTIONS TO EXCLUDE AND PROPOSED
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 1   No. Docket Plaintiffs’ Expert      Case Nos.       Case Names           Status of Motion to
          Nos.                                                                      Exclude
 2   14 18987 Jameson, Charles         16-md-        All Actions            Preserve – Monsanto
 3              Portier, Christopher   02741         (Omnibus Motion)       preserves its motion
                Ritz, Beate                                                 arguments.
 4   15 18960 Lustig, Sara             20-cv-02650   Doran, Richard A.      Live – To the extent
                                                                            the Court determines
 5                                                                          this motion is subject
                                                                            to PTO 202 (Dkt. No.
 6                                                                          9143), Monsanto
 7                                                                          preserves its motion
                                                                            arguments for re-
 8                                                                          filing and decision by
                                                                            the trial judge.
 9   16   18993   Knopf, Kevin         20-cv-03433   Aldoupolis, George     Live
          19048                        20-cv-04654   Booth, David
10
          19240                        19-cv-05238   Casale, Patricia
11                                     20-cv-03720   Coressel, Denise
                                       17-cv-05084   Cryan, Catherine
12                                     21-cv-02705   Dominique, Floyd
                                       20-cv-02650   Doran, Richard A.
13                                     19-cv-05345   Eilmes, Jr., Kenneth
                                       19-cv-06423   Gordon, Garfield
14
                                       19-cv-05957   Haase, Caryl Ann
15                                     19-cv-05600   Hayden, Neal
                                       19-cv-03014   Holliday, Michael L.
16                                     19-cv-06407   Huntley, Carol
                                       21-cv-00041   Pinheiro, Eduino
17                                     20-cv-08173   Pinheiro, Paula
18                                     19-cv-03786   Putzrath, Mario
                                       19-cv-05598   Rhuland, Jason
19                                     19-cv-05310   Rowland, Dean
                                       17-cv-03448   Setzer, William
20                                     22-cv-05287   Sorrell, Chad
                                       21-cv-02908   Stackhouse, Mark
21                                     20-cv-04758   Williams, Charles
22                                     20-cv-00027   Wistinghausen,
                                                     Robert
23   17   18951   Kothari, Shalin      21-cv-06562   Agosta, Carl           Live
     18   18974   Levin, Mark          20-cv-00056   Beisner, Eric          Live – As to
24                                     20-cv-00057   Bodie, John            Fleischhauer and
                                       20-cv-02419   Finnell, Patrick       Hayes cases;
25
                                       21-cv-05971   Fleischhauer, Dieter   withdrawn as to
26                                     21-cv-05398   Hayes, Robin           Beisner, Bodie, and
                                                                            Finnell cases.
27   19   19041   LoVecchio, Frank     20-cv-00621   Belfleur, Jean         Live
                                       18-cv-01428   Berenfeld, Sharon
28                                     20-cv-00024   Glassman, Phillip
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      JOINT SUBMISSION REGARDING STATUS OF MONSANTO’S MOTIONS TO EXCLUDE AND PROPOSED
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 1   No. Docket    Plaintiffs’ Expert    Case Nos.        Case Names         Status of Motion to
          Nos.                                                                    Exclude
 2                                      20-cv-03363   Holmes, Christopher
 3                                      20-cv-02404   Iona, Deborah
                                        21-cv-00172   Proctor, Mark
 4                                      20-cv-08851   Thompson, Matthew
     20   18991   MacLean, Jason        20-cv-00621   Belfleur, Jean         Live – To the extent
 5                                      18-cv-01428   Berenfeld, Sharon      the Court determines
                                        19-cv-05345   Eilmes, Jr., Kenneth   this motion is subject
 6                                      22-cv-00358   Ginkel, Peter          to PTO 202 (Dkt. No.
 7                                      20-cv-00024   Glassman, Phillip      9143), Monsanto
                                        19-cv-05957   Haase, Caryl Ann       preserves its motion
 8                                      19-cv-05600   Hayden, Neal           arguments for re-
                                        20-cv-03363   Holmes, Christopher    filing and decision by
 9                                      19-cv-06407   Huntley, Carol         the trial judge.
                                        20-cv-02404   Iona, Deborah
10
                                        21-cv-00175   Kay, Linda
11                                      21-cv-00172   Proctor, Mark
                                        20-cv-08851   Thompson, Matthew
12   21   19043   Mehta, Amit R.        21-cv-02550   Perillo, Antonio       Live
     22   18963   Miller, Thomas        20-cv-00621   Belfleur, Jean         Live – as to Sections
13                                      18-cv-01428   Berenfeld, Sharon      IV.A (qualifications);
14                                      20-cv-01419   Collins, James         Monsanto preserves
                                        20-cv-00024   Glassman, Phillip      its remaining motion
15                                      20-cv-03363   Holmes, Christopher    arguments.
                                        20-cv-02404   Iona, Deborah
16                                      21-cv-00175   Kay, Linda
                                        21-cv-00172   Proctor, Mark
17                                      20-cv-08851   Thompson, Matthew
18   23   18992   Nabhan, Chadi         20-cv-00621   Belfleur, Jean         Live
                                        18-cv-01428   Berenfeld, Sharon
19                                      20-cv-08518   Daulton, Renee T.
                                        21-cv-09937   El-Hakam, Bakri
20                                      16-cv-05786   Harris, Douglas
                                        20-cv-03363   Holmes, Christopher
21                                      20-cv-02404   Iona, Deborah
22                                      20-cv-06194   Romano, Nathan P.
                                        20-cv-08851   Thompson, Matthew
23   24   18968   Petty, Stephen        19-cv-04606   Hoge, Merril           Preserve – For re-
                                                                             filing and decision by
24                                                                           trial judge, pursuant
                                                                             to PTO 202 (Dkt. No.
25
                                                                             9143).
26   25   18949   Sawyer, William R.    20-cv-04746   Adams, III, Jesse R.   Preserve – Monsanto
                                        21-cv-00675   Boatright, Allen       preserves its motion
27                                      20-cv-04834   Colton, Andrew         arguments.
                                        21-cv-05971   Fleischhauer, Dieter
28                                      19-cv-08064   Gannon, Jason
                                                -5-
     JOINT SUBMISSION REGARDING STATUS OF MONSANTO’S MOTIONS TO EXCLUDE AND PROPOSED
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 1       No. Docket    Plaintiffs’ Expert    Case Nos.          Case Names         Status of Motion to
              Nos.                                                                      Exclude
 2                                          21-cv-05398     Hayes, Robin
 3                                          20-cv-08053     Skonicki, Barbara
         26   18982   Schiff, Ron           20-cv-00621     Belfleur, Jean         Live – as to Section
 4                                          18-cv-01428     Berenfeld, Sharon      IV.A (general
                                            20-cv-03363     Holmes, Christopher    causation); Monsanto
 5                                          20-cv-02404     Iona, Deborah          preserves its
                                            21-cv-00175     Kay, Linda             remaining motion
 6                                          20-cv-08851     Thompson, Matthew      arguments.
 7       27   18989   Schneider, Andrew     21-cv-08920     Denenberg, Doug        Withdrawn –
                                            21-cv-06764     Fisher, Marylnn        pending dismissal.
 8       28   18957   Smith, Clayton        20-cv-03444     Hutchison, Leslie      Live – as to Section
                                            20-cv-05888     Lopez, Jose De         II (specific
 9                                                          Jesus Gonzalez         causation); Monsanto
                                                                                   preserves its
10
                                                                                   remaining motion
11                                                                                 arguments.
         29   18985   Smith, Martyn         20-cv-00621     Belfleur, Jean         See Parties’
12            18987                         18-cv-01428     Berenfeld, Sharon      positions below.
                                            20-cv-08518     Daulton, Renee T.
13                                          21-cv-09937     El-Hakam, Bakri
14                                          22-cv-00358     Ginkel, Peter
                                            20-cv-00024     Glassman, Phillip
15                                          16-cv-05786     Harris, Douglas
                                            20-cv-03363     Holmes, Christopher
16                                          20-cv-02404     Iona, Deborah
                                            21-cv-00175     Kay, Linda
17                                          21-cv-00172     Proctor, Mark
18                                          20-cv-06194     Romano, Nathan P.
                                            20-cv-08851     Thompson, Matthew
19                                          19-cv-07858     Vander Groef, Chris
         30   18952   Stewart, Dwight       20-cv-02650     Doran, Richard A.      Live
20       31   18953   Swiger, John A.       20-cv-04834     Colton, Andrew         Live – For re-filing
                                                                                   and decision by trial
21
                                                                                   judge, pursuant to
22                                                                                 PTO 202 (Dkt. No.
                                                                                   9143). 1.
23       32   18986   Weisenburger,         20-cv-08518     Daulton, Renee T.      Preserve – Monsanto
                      Dennis                21-cv-09937     El-Hakam, Bakri        preserves its motion
24                                          16-cv-05786     Harris, Douglas        arguments.
25                                          20-cv-06194     Romano, Nathan P.
                                            19-cv-07858     Vander Groef, Chris
26       33   19046   Wojciechowski,        19-cv-08064     Gannon, Jason          Live
                      Brian
27
     1
            This is a new expert to the MDL. If the Court wishes to consider this motion, the parties will
28   submit further briefing.
                                                    -6-
         JOINT SUBMISSION REGARDING STATUS OF MONSANTO’S MOTIONS TO EXCLUDE AND PROPOSED
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 1    No. Docket Plaintiffs’ Expert           Case Nos.          Case Names         Status of Motion to
           Nos.                                                                          Exclude
 2    34 18961 Zhang, Luoping                21-cv-05971     Fleischhauer, Dieter   Live
 3                                           21-cv-05398     Hayes, Robin

 4
                                            Areas of Disagreement
 5
            1.      Kristan Aronson and Martyn Smith
 6
     Plaintiffs’ Position:
 7
            Often, Monsanto challenges experts twice – in the omnibus motion and then again in a stand-
 8
     alone motion. This “double challenge” unfairly, and without justification, provides Monsanto an end
 9
     around to exceed the Daubert page limits. When Monsanto files a stand-alone Daubert challenge, the
10
     portions of the omnibus brief related to that expert should not be considered “live” and no response
11
     should be required.
12
     Monsanto’s Position:
13
            Live – These experts are new to the MDL. Where an expert’s opinions were challenged in
14
     both the omnibus motion and a separate individual Daubert motion, the separate Daubert motion did
15
     not include the expert-specific arguments made in the omnibus motion. Thus, because the arguments
16
     in the omnibus and individual expert motions do not overlap, the portions of the omnibus motion
17
     pertaining to these new experts—never before considered by this Court—remain live. The individual
18
     motions to exclude these experts and the portions of the Omnibus Motion addressing these experts
19
     should be considered. Monsanto identifies the following sections in the omnibus motion pertaining
20
     to Kristan Aronson and Martyn Smith:
21
            1.      9:9-10:5
22
            2.      10:6-12
23
            3.      10:13-18
24
            4.      12:3-11
25
            5.      12:21-28
26
            6.      13:1-5
27
            7.      13:27-14:14
28
                                                      -7-
       JOINT SUBMISSION REGARDING STATUS OF MONSANTO’S MOTIONS TO EXCLUDE AND PROPOSED
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 1          8.      14:22-15:8

 2          9.      16:11-24

 3          10.     17:10-27

 4          11.     18:1-21

 5          12.     18:24-19:13

 6          13.     19:20-20:2

 7          14.     20:3-7

 8          15.     21:24-23:5

 9          16.     23:18-25:7

10          17.     25:10-28:10

11          18.     28:13-30:4

12          19.     30:27-35:18

13          20.     35:21-36:20.

14

15          2.      Proposed Briefing Schedule

16   Plaintiffs’ Position:

17          Although the briefing schedule has been stayed, Plaintiffs did not know what portions of the

18   briefs would be “live” (and thus require a response), until recently. Further, extreme coordination is

19   required for plaintiffs’ counsel as often dozens of lawyers from several different law firms are editing

20   a response brief. Plaintiffs propose the following briefing schedule in compliance with the Court’s

21   Order requiring all live Wave 7 motions be fully briefed by no later than October 14, 2024:

22

23                           Event                                             Date
      Daubert Oppositions                                                 October 1, 2024
24    Daubert Replies                                                     October 14, 2024
25

26

27   Monsanto’s Position:

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                                                       -8-
       JOINT SUBMISSION REGARDING STATUS OF MONSANTO’S MOTIONS TO EXCLUDE AND PROPOSED
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 1          Pursuant to the Court’s Order dated August 29, 2024, the deadlines for Plaintiffs to file any

 2   oppositions to Monsanto’s motions were stayed. (Dkt. No. 19093.) Plaintiffs have had more than a

 3   month to prepare oppositions to Monsanto’s motions. Monsanto proposes the following briefing

 4   schedule in compliance with the Court’s Order requiring all live Wave 7 motions (identified above)

 5   be fully briefed by no later than October 14, 2024.

 6                          Event                                             Date
      Plaintiffs’ Oppositions                                           September 23, 2024
 7    Monsanto’s Replies                                                 October 14, 2024
 8

 9   Dated: September 19, 2024                     Respectfully submitted,

10                                                /s/ Aimee H. Wagstaff
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17
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18                                                David Dickens
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20

21                                                Co-Lead Counsel for Plaintiffs in MDL No. 2741

22                                                /s/ Anthony R. Martinez
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27                                                Attorneys for Defendant Monsanto Company
28
                                                      -9-
       JOINT SUBMISSION REGARDING STATUS OF MONSANTO’S MOTIONS TO EXCLUDE AND PROPOSED
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 1                                     CERTIFICATE OF SERVICE

 2          I HEREBY CERTIFY that on this 19th day of September 2024, a copy of the foregoing was

 3   filed with the Clerk of the Court through the CM/ECF system which sent notice of the filing to all

 4   appearing parties of record.

 5
                                                         /s/ Aimee Wagstaff____
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       JOINT SUBMISSION REGARDING STATUS OF MONSANTO’S MOTIONS TO EXCLUDE AND PROPOSED
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